Court of Appeals
of the State of Georgia

                                       ATLANTA,____________________
                                                August 23, 2024

The Court of Appeals hereby passes the following order:

A24E0010. HINES et al v. SUSAN PROPERTY MANAGEMENT

      Jason Hines and Tiffany Hines have filed this pro se emergency motion for
leave to file out of time an application for discretionary review. Upon consideration
of this motion, which is untimely, it is hereby DENIED.

                                       Court of Appeals of the State of Georgia
                                         Clerk’s Office, Atlanta,____________________
                                                                     08/23/2024
                                                  I certify that the above is a true extract from
                                       the minutes of the Court of Appeals of Georgia.
                                                 Witness my signature and the seal of said court
                                       hereto affixed the day and year last above written.


                                                                                         , Clerk.
